             Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 1 of 12

 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 HEIKO P. COPPOLA
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                              CASE NO. 2:20-CR-00134 JAM
11
                                   Plaintiff,               REDACTED VERSION OF ECF 185-1
12
                             v.
13
     TANG JUAN,
14   (a.k.a. Juan Tang)
                                  Defendant.
15

16
            In compliance with the Court’s sealing order dated July 20, 2021, the United States hereby files a
17
     redacted version of ECF 185-1. See Exhibit 1.
18
      Dated: July 21, 2021                                   PHILLIP A. TALBERT
19                                                           Acting United States Attorney

20
                                                     By: /s/ HEIKO P. COPPOLA
21                                                       HEIKO P. COPPOLA
                                                         Assistant United States Attorney
22

23

24

25

26

27

28


      REDACTED EXHIBIT                                  1
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 2 of 12




                             EXHIBIT 1
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 3 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 4 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 5 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 6 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 7 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 8 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 9 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 10 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 11 of 12
Case 2:20-cr-00134-JAM Document 207 Filed 07/21/21 Page 12 of 12
